 Case 3:19-cv-02242-K Document 30 Filed 01/06/20     Page 1 of 4 PageID 564



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

APEX INTERNATIONAL, LLC AND §
GREG LINDBERG,              §
                            §
Plaintiffs,                 §
                            §
v.                          §         Case No.: 3:19-cv-02242-K
                            §
JEFFREY SERBER and          §
TRENT TRENNEPOHL            §
                            §
Defendants.                 §


 DEFENDANT SERBER’S SUPPLEMENTAL REPLY IN SUPPORT OF SECOND
   MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION AND,
     ALTERNATIVELY, TO SEVER AND THEREAFTER DISMISS OR,
               ALTERNATIVELY, TRANSFER VENUE


    THE TAYLOR LAW OFFICES, PC        BALLARD & LITTLEFIELD LLP

    Thomas L. Taylor III              Donald R. Littlefield
    Texas Bar: 19733700               Texas Bar No. 12427350
    taylor@tltaylorlaw.com            dlittlefield@ballardlittlefield.com
    Andrew M. Goforth                 16475 Dallas Parkway, Suite 400
       Of Counsel                     Addison, Texas 75001
    Texas Bar: 24076405               Phone: 972-733-2900
    andrew@goforth.law                Fax: 713-403-6400

    245 West 18th Street              Charles A. Hammaker
    Houston, Texas 77008                 Of Counsel
    Tel: 713.626.5300                 Texas Bar No. 08853700
    Fax: 713.402.6154                 ahammaker@ballardlittlefield.com
                                      3700 Buffalo Speedway, Suite 250
                                      Houston, Texas 77098
                                      Telephone: (713) 403-6400
                                      Facsimile: (713) 403-6410
    Case 3:19-cv-02242-K Document 30 Filed 01/06/20                           Page 2 of 4 PageID 565



        Defendant Jeffrey Serber (“Serber”), through undersigned counsel, respectfully files this

Supplemental Reply in support of his Motion1 to dismiss the Verified Second Amended Complaint

(ECF No. 18, “Complaint”) of Plaintiffs Apex International, LLC (“Apex”) and Greg Lindberg

(“Lindberg” and collectively “Plaintiffs”). Defendant Serber files this Supplemental Reply in light

of the Entry of Default entered by the Clerk of Court for the Northern District of Texas with respect

to Defendant Trent Trennepohl (“Trennepohl”) on January 2, 2020. ECF No. 29.



        Defendant Serber filed his Motion on November 19, 2019 (ECF No. 25) and his Reply in

support of same (ECF No. 27) on December 23, 2019. In these filings Serber asked the Court to

sever Plaintiffs’ case against him from the case asserted against Trennepohl under Rules 20 and

21 of the Federal Rules of Civil Procedure (“Rules”). See Mot. at § C(1). The Entry of Default has

the same effect as a severance of the claims against the two named Defendants. Because the

Plaintiffs’ case against Trennepohl has concluded through default, the Court should disregard

Trennepohl’s inclusion in the lawsuit when analyzing venue under 28 U.S.C. § 1391(b) and

dismiss the case against Serber pursuant to Rule 12(b)(3) and 28 U.S.C. § 1406(a).




1
 Capitalized terms not defined herein have the same meaning given to them in Serber’s Motion to dismiss the Verified
Second Amended Complaint (ECF No. 25).


DEFENDANT SERBER’S REPLY IN SUPPORT OF HIS SECOND MOTION TO DISMISS AND,
ALTERNATIVELY, TRANSFER VENUE
   Case 3:19-cv-02242-K Document 30 Filed 01/06/20               Page 3 of 4 PageID 566



Dated: January 6, 2020                             Respectfully submitted,

                                                   THE TAYLOR LAW OFFICES, PC


                                                   By:   /s/ Thomas L. Taylor III

                                                   Thomas L. Taylor III
                                                   Texas Bar: 19733700
                                                   taylor@tltaylorlaw.com
                                                   Andrew M. Goforth
                                                      Of Counsel
                                                   Texas Bar: 24076405
                                                   andrew@goforth.law

                                                   245 West 18th Street
                                                   Houston, Texas 77008
                                                   Tel: 713.626.5300
                                                   Fax: 713.402.6154


                                                   BALLARD & LITTLEFIELD LLP

                                                   Donald R. Littlefield
                                                   Texas Bar No. 12427350
                                                   dlittlefield@ballardlittlefield.com
                                                   16475 Dallas Parkway, Suite 400
                                                   Addison, Texas 75001
                                                   Phone: 972-733-2900
                                                   Fax: 713-403-6400

                                                   Charles A. Hammaker
                                                   Of Counsel
                                                   Texas Bar No. 08853700
                                                   ahammaker@ballardlittlefield.com
                                                   3700 Buffalo Speedway, Suite 250
                                                   Houston, Texas 77098
                                                   Telephone: (713) 403-6400
                                                   Facsimile: (713) 403-6410

                                                   COUNSEL FOR DEFENDANT
                                                   JEFFREY SERBER




DEFENDANT SERBER’S REPLY IN SUPPORT OF HIS SECOND MOTION TO DISMISS AND,
ALTERNATIVELY, TRANSFER VENUE                                                            PAGE 3
   Case 3:19-cv-02242-K Document 30 Filed 01/06/20              Page 4 of 4 PageID 567



                               CERTIFICATE OF SERVICE

       I certify that on January 6, 2020 I filed the foregoing document through the Court’s
CM/ECF filing system and electronically provided it to Defendant Trennepohl (with written
consent), which satisfies service requirements under FED. R. CIV. P. 5(b)(2)(E).

                                                        /s/ Thomas L. Taylor III
                                                        Thomas L. Taylor III




DEFENDANT SERBER’S REPLY IN SUPPORT OF HIS SECOND MOTION TO DISMISS AND,
ALTERNATIVELY, TRANSFER VENUE                                                        PAGE 4
